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 1                               UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3
 4   UNITED STATES OF AMERICA,                         )
                                                       )
 5                         Plaintiff,                  )
            vs.                                        )        Case No.: 2:10‐cr‐00578‐APG‐GWF
 6
                                                       )
 7   LINDA AND WILLIAM LIVOLSI,                        )
                                                       )
 8                         Defendants.                 )
 9                                                     )

10                              ORDER FOR RELEASE OF EXHIBITS

11          As prescribed by LR 79-1 and LCR 55-1 of the Local Rules of Practice of this Court, IT
12   IS HEREBY ORDERED that counsel shall have until 4:00 p.m. on May 25, 2018 to retrieve
13   the exhibits previously received into evidence that are in the custody of the Clerk’s Office. If the
14   exhibits are not retrieved by counsel prior to that date, the Clerk is authorized to destroy the
15   exhibits on May 29, 2018.
16                                                         5/4/2018

17
18
     NOTICE TO COUNSEL: Please sign below to designate a member of your staff or a legal
19
     courier service to pick up the exhibits. Please note whether you represent plaintiff or defendant.
20   I authorize_____________________________ to retrieve Plaintiff’s/Defendants’ exhibits.
                            (name)                                     (circle one)
21
     Dated:___________________               ____________________________________________
22                                           Signature of counsel
23
24   Plaintiff’s exhibits received by: _____________________________ Date:______________
     Defendants’ exhibits received by: ___________________________ Date:_______________
25


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